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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION ^^                     T
                                                           (Lu   ^         70
UNITED STATES OF AMERICA          ) INDICTMENT NO.

          V.                         18 U.S.C. § 371
                                      Conspiracy to Commit Assault Upon
BYRON BOOKER                         a Member of the U.S. Uniformed
                                     Services and to Commit Burglary
JORDAN BROWN
                                     18 U.S.C.§ 111
                                     Assault Upon a Member of the U.S.
                                     Uniformed Services


                                     18 U.S.C.§ 13, O.C.G.A. § 16-7-l(b)
                                     Burglary

                                     18 U.S.C.§ 1513(f)
                                     Conspiracy to Retaliate Against a
                                     Witness


                                     18 U.S.C.§ 1513(b)
                                     Retaliation Against a Witness

                                     18 U.S.C.§ 1111
                                     Felony Murder

                                     18 U.S.C.§ 1114
                                     Murder of a Member of the United
                                     States Uniformed Services

                                     18 U.S.C.§ 1111
                                     Premeditated Murder

                                     18 U.S.C.§ 2
                                     Aiding and Abetting

                                     Notice of Special Findings
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THE GRAND JURY CHARGES THAT:


                                      COUNT ONE
                                     Conspiracy
                                   18 U.S.C. § 371

      On or about June 13-17, 2020, in Liberty County, in the Southern District of

Georgia, on Fort Stewart Military Reservation, which was a place within the special

territorial jurisdiction of the United States, and elsewhere, the defendants,

                   BYRON BOOKER and JORDAN BROWN,

did knowingly and intentionally combine, conspire, confederate and agree together

and with each other to commit offenses against the United States, that is, to forcibly

assault, intimidate and interfere with U.S. Army Specialist Austin J. Hawk, an

employee of the United States and member of the United States uniformed services,

on account of U.S. Army Specialist Austin J. Hawk's performance of his official duties,

which assault was to involve physical contact or another felony, in violation of 18

U.S.C. § 111, and to commit burglary of U.S. Army Specialist Austin J. Hawk's

barracks room on Fort Stewart Military Reservation, in violation of O.C.G.A. § 16-7-

1(b) and 18 U.S.C. § 13.

                            Objects of the Conspiracy

The objects of the conspiracy were:

   a. to retaliate against U.S. Army Specialist Austin J. Hawk for his report of

      drug use by Defendant JORDAN BROWN;
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   b. to retaliate against U.S. Army Specialist Austin J. Hawk for his report of

      poor leadership, poor military performance, and maltreatment of

      subordinates by Defendant BYRON BOOKER;

   c. to do bodily harm to U.S. Army Specialist Austin J. Hawk;

   d. to damage the tangible property of U.S. Army Specialist Austin J. Hawk;

   e. to remain undetected as the perpetrators of an assault against U.S. Army

      Specialist Austin J. Hawk; and

   f. to remain undetected as the perpetrators of a burglary targeting U.S. Army

      Specialist Austin J. Hawk.

                    Manner and Means of the Conspiracy

      It was part of the conspiracy and among its manner and means that the

defendants, counseled and induced by each other:

      a. would speak by phone and in person on June 13-16, 2020, about

         "silencing" U.S. Army Specialist Austin J. Hawk;

      b. would discuss ways to "silence" U.S. Army Specialist Austin J. Hawk,

         including beating him, poisoning him and smothering him with a pillow;

      c. would discuss damaging and destroying U.S. Army Specialist Austin J.

         Hawk's property;

      d. would discuss plans wherein defendant JORDAN BROWN would provide

         defendant BYRON BOOKER a key to U.S. Army Specialist Austin J.

         Hawk's barracks room so defendant BOOKER could enter without

         authority and "silence" Specialist Hawk;
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      e. would enter onto Fort Stewart without authority;

      f. would enter into Building 3006, Room 208;

      g. would remain in Building 3006, Room 208 without authority;

      h. would assault U.S. Army Specialist Austin J. Hawk; and

      i. would damage the tangible property of U.S. Army Specialist Austin J.

          Hawk.


                                      Overt Acts

         In furtherance of the conspiracy and to accomplish its objects, at least one

of the Defendants committed or caused to be committed, in the Southern District of

Georgia, at least one of the following overt acts:

      a. On or about June 17, 2020, defendant BYRON BOOKER departed his

          residence in Ludowici, Georgia, and purposefully left his cell phone at his

          residence to create an alibi and to avoid detection by law enforcement.

      b. On or about June 17, 2020, defendant BYRON BOOKER drove his

          personal vehicle to a lot adjacent to a controlled access point at Fort

          Stewart.


      c. At or about 12:22 a.m. on June 17, 2020, defendant BYRON BOOKER,

          without authority, entered Fort Stewart on foot through a controlled

          access point.

      d. On or about June 17, 2020, defendant BYRON BOOKER walked

          approximately one mile from the controlled access point to Barracks

          Building 3006.
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      e. On or about June 17, 2020, defendant BYRON BOOKER entered

          Barracks Building 3006, Room 208, which was occupied by U.S. Army

          Specialist Austin J. Hawk.

      f. On or about June 17, 2020, defendant BYRON BOOKER stabbed, cut,

          and slashed U.S. Army Specialist Austin J. Hawk with an edged weapon.

      g. On or about June 17, 2020, after departing Fort Stewart on foot,

          defendant BYRON BOOKER disposed of the clothing and shoes he wore

          while inside Barracks Building 3006, Room 208.

All in violation of Title 18, United States Code, Section 371.
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                                    COUNT TWO
          Assault Upon a Member of the United States Uniformed Services
                                   18 U.S.C. § 111

      On or about June 17, 2020, in Liberty County, in the Southern District of

Georgia, on Fort Stewart Military Reservation, which was a place within the special

territorial jurisdiction of the United States, the defendant,

                   BYRON BOOKER and JORDAN BROWN,

counseled and induced by each other, did unlawfully, intentionally and forcibly

assault, intimidate, interfere with and inflict bodily injury upon U.S. Army Specialist

Austin J. Hawk by stabbing, cutting and slashing U.S. Army Specialist Austin J.

Hawk with an edged weapon, which was a deadly and dangerous weapon.

      All in violation of Title 18, United States Code, Sections 2, 7 and 111, and

Pinkerton v. United States, 328 U.S. 640 (1946).
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                                  COUNT THREE
                              Burglary of a Dwelling
                     O.C.G.A. § 16-7-l(b) and 18 U.S.C. §§ 7, 13

      On or about June 17, 2020, in Liberty County, in the Southern District of

Georgia, on Fort Stewart Military Reservation, a place within the special territorial

jurisdiction of the United States, the defendants,

                   BYRON BOOKER and JORDAN BROWN,

counseled and induced by each other, did, without authority and with the intent to

commit a felony therein, enter and remain within an occupied dwelling, that is.

Building 3006, Room 208, which was then the barracks room of U.S. Army Specialist

Austin J. Hawk.


      All in violation of Title 18, United States Code, Sections 2, 7, 13 and 111, and

Pinkerton v. United States, 328 U.S. 640(1946).
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                                  COUNT FOUR
                     Conspiracy to Retaliate Against a Witness
                               18 U.S.C. § 1513(f)

      On or about June 13-17, 2020, in Liberty County, in the Southern District of

Georgia, on Fort Stewart Military Reservation, the defendants,

                   BYRON BOOKER and JORDAN BROWN,

did knowingly and intentionally combine, conspire, confederate and agree together

and with each other to cause bodily injury to and damage the tangible property of

U.S. Army Specialist Austin J. Hawk, with the intent to retaliate against U.S. Army

Specialist Hawk for providing a record and document in an official proceeding, that

is, a Prehminary Inquiry as required by Rule for Courts-Martial 303, regarding

defendant JORDAN BROWN's use of controlled substances.

      AU in violation of Title 18 U.S.C. Sections 1513(f) and 1513(b)(1).
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                                  COUNT FIVE
                           Retaliation Against a Witness
                               18 U.S.C. § 1513(b)(1)

      On or about June 17, 2020, in Liberty County, in the Southern District of

Georgia, on Fort Stewart Military Reservation, the defendants,

                   BYRON BOOKER and JORDAN BROWN,

counseled and induced by each other, did knowingly engage in conduct, that is, a

physical attack upon U.S. Army Specialist Austin J. Hawk, which caused bodily

injury to and damage to the tangible property of U.S. Army Specialist Austin J.

Hawk, with the intent to retaliate against U.S. Army Specialist Austin J. Hawk for

providing a record or document in an official proceeding, that is, a Preliminary

Inquiry, as required by Rule for Courts-Martial 303, regarding defendant JORDAN

BROWN'S use of controlled substances.


      All in violation of Title 18 U.S.C. Sections 2 and 1513(b)(1), and Pinkerton v.

United States, 328 U.S. 640 (1946).
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                                     COUNT SIX
                                     Felony Murder
                                    18U.S.C. § 1111

      On or about June 17, 2020, in Liberty County, in the Southern District of

Georgia, on Fort Stewart Military Reservation, a place within the special territorial

jurisdiction of the United States, the defendants,

                   BYRON BOOKER and JORDAN BROWN,

counseled and induced by each other, did, with malice aforethought, unlawfully kill

U.S. Army Specialist Austin J. Hawk by stabbing, cutting and slashing U.S. Army

Specialist Austin J. Hawk with an edged weapon, while engaged in the knowing and

willful perpetration of burglary.

      All in violation of Title 18, United States Code, Sections 2, 7 and 1111, and

Pinkerton v. United States, 328 U.S. 640(1946).




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                                  COUNT SEVEN
            Murder of a Member of the United States Uniformed Services
                                18 U.S.C. § 1114

      On or about June 17, 2020, in Liberty County, in the Southern District of

Georgia, on Fort Stewart Military Reservation, the defendant,

                                 BYRON BOOKER,

did, with premeditation and malice aforethought, unlawfully kill U.S. Army

Specialist Austin J. Hawk, an employee of the United States and member of the

United States uniformed services, on account of the performance of U.S. Army

Specialist Austin J. Hawk's official duties.

      All in violation of Title 18, United States Code, Section 1114.




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                                  COUNT EIGHT
                               Premeditated Murder
                                  18 U.S.C. § 1111

      On or about June 17, 2020, in Liberty County, in the Southern District of

Georgia, on Fort Stewart Military Reservation, a place within the special territorial

jurisdiction of the United States, the defendant,

                                BYRON BOOKER,

willfully, deliberately, maliciously, and with premeditation and malice aforethought,

did unlawfully kill U.S. Army Specialist Austin J. Hawk, by stabbing, cutting and

slashing U.S. Army Specialist Austin J. Hawk with an edged weapon.

      All in violation of Title 18, United States Code, Sections 7 and 1111.




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 NOTICE OF SPECIAL FINDINGS AS TO DEFENDANT BYRON BOOKER

The Grand Jury further finds that:

      Pursuant to the provisions of Chapter 228 (Sections 3591 through 3598) of

Title 18 of the United States Code, the following factors exist regarding defendant

BYRON BOOKER,and his commission of the offenses charged in Counts 6

through 8 of this indictment, that is, the murder of U.S. Army Specialist Austin J.

Hawk,in violation of Title 18, United States Code, Sections 1114 and 1111, the

allegations of which are fully re-alleged and incorporated herein by reference:


      A. Statutory Factors Enumerated under Title 18, United States Code, Section
         3591(a)(2)(A)-(D):

         1. Age of the Defendant.

             a. The defendant, BYRON BOOKER,was 18 years of age or older at
                the time he committed the offense. Title 18, United States Code,
                Section 3591(a).

         2. Mental State of the Defendant.


             a. The defendant, BYRON BOOKER,intentionally killed U.S. Army
               Specialist Austin J. Hawk. Title 18, United States Code, Section
               3591(a)(2)(A).

             b. The defendant, BYRON BOOKER,intentionally inflicted serious
               bodily injury to U.S. Army Specialist Austin J. Hawk that resulted
               in U.S. Army Specialist Hawk's death. Title 18, United States Code,
               Section 3591(a)(2)(B).

             c. The defendant, BYRON BOOKER,intentionally and specifically
                engaged in an act of violence which he knew would create a grave
                risk of death to his victim, such that his participation in the act
                constituted a reckless disregard for human life and directly resulted
                in the death of his victim, U.S. Army Specialist Austin J. Hawk.
                Title 18, United States Code, Section 3591(a)(2)(D).



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 B. Statutory Factors enumerated under Title 18, United States Code, Section
   3592(c):

     1. Heinous, cruel, or depraved manner of committing offense, in that the
        defendant, BYRON BOOKER,committed the offense in an especially
        heinous, cruel, or depraved manner in that it involved torture or
        serious physical abuse to U.S. Army Specialist Austin J. Hawk. Title
       18, United States Code, Section 3592(c)(6).

    2. Substantial planning and premeditation, in that the defendant,
      BYRON BOOKER,committed the offense after substantial planning
      and premeditation to cause the death of U.S. Army Specialist Austin J.
       Hawk. Title 18, United States Code, Section 3592(c)(9).

 C. Non-Statutory Factors to be considered under Title 18, United States
   Code, Section 3592(c):

    1. Murder during the commission of another offense, that is, Burglary in
       violation of O.C.G.A. 16-7-l(b) and Retaliation Against a Witness in
       violation of 18 U.S.C. § 1513.

    2. Lack of remorse, to include defendant BYRON BOOKER'S response
       when asked "yo^ don't feel anything for [Specialist Hawk]?" which
       was,"I mean no, not really."

    3. Effect on U.S. Army Specialist Austin Hawk'family, to include the
       responsibility borne by U.S. Army Specialist Austin J. Hawk's mother
       to care for U.S. Army Specialist Austin J. Hawk's disabled older
       brother.


    4. Effect upon the well-being, morale and security of Soldiers living on
       Fort Stewart, Georgia, in that the murder of U.S. Army Specialist
       Austin J. Hawk demoralized members of U.S. Army Specialist Austin
       J. Hawk's battalion and affected the battalion's operational readiness.




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 NOTICE OF SPECIAL FINDINGS AS TO DEFENDANT JORDAN BROWN

The Grand Jury further finds that:

      Pursuant to the provisions of Chapter 228 (Sections 3591 through 3598) of

Title 18 of the United States Code, the following factors exist regarding defendant

JORDAN BROWN,and his commission of the offenses charged in Count 6 of this

indictment, that is, the murder of U.S. Army Specialist Austin J. Hawk,in violation

of Title 18, United States Code, Section 1111, the allegations of which are fully re-

alleged and incorporated herein by reference:


      A. Statutory Factors Enumerated under Title 18, United States Code, Section
         3591(a)(2)(A)-(D):

          1. Age of the Defendant.

             a. The defendant, JORDAN BROWN,was 18 years of age or older at
                the time he committed the offense. Title 18, United States Code,
                Section 3591(a).

          2. Mental State of the Defendant.


                The defendant, JORDAN BROWN,intentionally participated in an
                act, contemplating that the life of a person would be taken or
                intending that lethal force would be used in connection with a
                person, other than one of the participants of the offense, and the
                victim died as a result of the act. Title 18, United States Code,
                Section 3591(a)(2)(C).

      B. Statutory Factors enumerated under Title 18, United States Code, Section
         3592(c):

           1. Substantial planning and premeditation, in that the defendant,
             JORDAN BROWN,committed the offense after substantial planning
             and premeditation to cause the death of U.S. Army Specialist Austin J.
             Hawk. Title 18, United States Code, Section 3592(c)(9).




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 C. Non-Statutory Factors to be considered under Title 18, United States
   Code, Section 3592(c):


    1. Murder during the commission of another offense, that is. Burglary in
       violation of O.C.G.A. 16-7-l(b) and Retaliation Against a Witness in
       violation of 18 U.S.C. § 1513.

    2. Effect on U.S. Army Specialist Austin Hawk'family, to include the
       responsibility borne by U.S. Army Speciahst Austin J. Hawk's mother
       to care for U.S. Army Specialist Austin J. Hawk's disabled older
       brother.


    3. Effect upon the well-being, morale and security of Soldiers living on
       Fort Stewart, Georgia, in that the murder of U.S. Army Specialist
       Austin J. Hawk demoralized members of U.S. Army Specialist Austin
       J. Hawk's battalion and affected the battalion's operational readiness.




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                                         A True Bill.




David H. Estes                       Jennifer
Acting United States Attorney        Assistam Unifed States Attorney
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                                     *Lead Counsel




Karl 1. Knoche
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